                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE
                                          AT NASHVILLE

    JILL MARIE FITCHEARD,                            )
                                                     )
                Plaintiff,                           )
                                                     )
    v.                                               )   Case No. 3:22-cv-00638
                                                     )   District Judge Trauger
    METROPOLITAN GOVERNMENT OF                       )
    NASHVILLE AND DAVIDSON                           )
    COUNTY                                           )
                                                     )
                Defendants.                          )

                         MEMORANDUM OF LAW IN SUPPORT OF
                  THE METROPOLITAN GOVERNMENT’S MOTION TO DISMISS

               Pursuant to Fed. R. Civ. P. 12(b)(6), the Metropolitan Government of Nashville and

Davidson County moves to dismiss all claims against it for failure to state a claim upon which

relief may be granted. In support of her race discrimination and retaliation claims, Plaintiff

does not offer any facts, only desired remedies and legal conclusions. Neither are sufficient

to survive a motion to dismiss.

               Plaintiff attempts to elevate routine technological challenges with her employer to a

violation of federal law. She requests that this Court order the Metropolitan Government to

outfit her with top-of-the-line technology at a cost of $12,500. (Compl. ¶ V, Doc. No. 1.) She

also asks for two million dollars in punitive damages1 for the “digital terrorism” that she

purportedly experienced and that the Metropolitan Government be enjoined from surveilling

her personal devices. (Id.)




1Punitive damages are not available against the government in a Title VII case. Ward v.
Tenn. Dep’t of Educ., 2020 WL 1814194, *4 (M.D. Tenn. 2020) (Campbell, J).
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               As grounds for this extraordinary relief, she relies solely on her allegation of “digital

terrorism.” There is no attempt to explain what “digital terrorism” is. Nor does the attached

EEOC charge shed any additional light on the factual basis for her lawsuit. It states:




(Id. at EEOC Charge.)

               The Complaint and its attachments do not establish that the Plaintiff was

discriminated against because there are no facts to establish that an adverse employment

action was taken against Plaintiff or that she was treated less favorably than similarly

situated comparators. Similarly, the Complaint does not allege that Plaintiff participated in

any activity protected by Title VII of the Civil Rights Act or that she experienced any adverse

action. Therefore, it also does not state a claim for retaliation. The entire complaint should

be dismissed.

                                            LEGAL STANDARD

               The standard for testing the sufficiency of the allegations in a complaint in a motion

to dismiss under Fed. R. Civ. P. 12(b)(6) was articulated by the United States Supreme Court

in Bell Atlantic Corp. v. Twombly. 550 U.S. 544 (2007). A plaintiff must allege in a complaint

“enough facts to state a claim to relief that is plausible on its face.” Id. at 570. The “decision

in Twombly expounded the pleading standard for ‘all civil actions,’” including this one.

Ashcroft v. Iqbal, 556 U.S. 662, 684 (2009).

               As the Supreme Court reiterated in Iqbal, “[w]here a complaint pleads facts that are

‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between possibility

and plausibility of entitlement to relief.’” Id. at 678 (quoting Twombly, 550 U.S. at 557)


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(cleaned up). Further, the tenet that a court must accept as true all of the well-pleaded factual

allegations contained in a complaint is inapplicable to legal conclusions: “Threadbare recitals

of the elements of a cause of action, supported by mere conclusory statements, do not suffice.”

Id. (citations omitted). A court is not required to accept as true a “legal conclusion couched

as a factual allegation.” Id. (citations omitted). Determining whether a complaint states a

claim for relief that is plausible on its face is a context-specific exercise that requires a court

to “draw on its judicial experience and common sense.” Id. at 679 (citations omitted).

                                              ARGUMENT

      I.          Discrimination Claim

               To establish a prima facie case of discrimination under Title VII, a plaintiff must

allege that: (1) she is a member of a protected class; (2) she was qualified for the job and

performed it satisfactorily; (3) despite her qualifications and performance, she suffered an

adverse employment action; and (4) she was replaced by a person outside the protected class

or was treated less favorably than a similarly situated individual outside of her protected

class. Laster v. City of Kalamazoo, 746 F.3d 714, 727 (6th Cir. 2014).

               In the context of a Title VII claim, an adverse employment action is defined as a

“materially adverse change in the terms or conditions” of employment. Kocsis v. Multi-Care

Mgmt. Inc., 97 F.3d 876, 885 (6th Cir. 1996). An adverse employment action constitutes “a

significant change in employment status, such as hiring, firing, failing to promote,

reassignment with significantly different responsibilities, or a decision causing significant

change in benefits.” Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 761 (1998).

               Here, the only employment change that the Complaint identifies is Plaintiff’s

promotion from Assistant Director to Executive Director. (EEOC Charge, Doc. No. 1.) As a




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matter of law, that is not an adverse employment action, and the Complaint should be

dismissed.

               Additionally, Plaintiff’s legal conclusion that she was harassed by the IT department

does not state a claim for relief. This is simply a legal conclusion masquerading as a fact.

There are no details about who did the harassing, what the harassing actions purportedly

were, or why the harassment occurred. Bender v. Gen. Dynamics Land Sys., Inc., 2020 WL

4366049, at *5 (E.D. Mich. July 30, 2020) (“Plaintiff's other allegations, such as that

Defendants subjected her to “materially different standards and terms and conditions of her

employment” on the basis of her race and gender, and “single[d] [her] out” are too conclusory

to        establish       intolerable    working     conditions,    or    to    otherwise     plead

an adverse employment action.”). The Complaint also fails to identify any individuals who

are similarly situated to Plaintiff but were treated more favorably. Without any facts, the

Complaint cannot state a plausible claim for relief, and the discrimination claim must be

dismissed.

      II.         Retaliation Claim

               Title VII “prohibits retaliatory conduct by an employer when an employee engages

in protected activity.” Brown v. VHS of Mich., Inc., 545 F. App’x 368, 373 (6th Cir. 2013); see

also 42 U.S.C. § 2000e-3. Employees engage in “protected activity” when they oppose

practices “made unlawful under Title VII.” Brown, 545 F. App’x at 373. Title VII makes it

unlawful for employers to “discriminat[e] in employment because of race, color, religion, sex,”

and other characteristics. 42 U.S.C. § 2000e.

               To establish a prima facie case of retaliation under Title VII, a plaintiff must

demonstrate that: “(1) she engaged in activity protected by Title VII; (2) her exercise of such

protected activity was known by the defendant; (3) thereafter, the defendant took

an action that was ‘materially adverse’ to the plaintiff; and (4) a causal connection existed
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between the protected activity and the ‘materially adverse’ action.” Jones v. Johanns, 264

Fed. App’x 463, 466 (6th Cir. 2007) (quoting Abbott v. Crown Motor Co., Inc., 348 F.3d 537,

542 (6th Cir. 2003)).

               As with her discrimination claim, Plaintiff does not allege any factual support for her

retaliation claim. The EEOC charge attached to the Complaint asserts that Plaintiff

complained about her laptop and cell phone. (EEOC Charge, Doc. No. 1.) But she also alleges

that the Metropolitan Government replaced her equipment (id.), which cannot constitute an

adverse employment action. Burlington Indus, 524 U.S. at 761. Additionally, continued

technological challenges, such as different monitoring or having to use a web-based system

instead of the in-house network, does not constitute an adverse employment action. The

Complaint and EEOC charge do not specify the extent of the monitoring or how it is different

than other forms of monitoring utilized. These threadbare grievances are not sufficient to

state a claim for retaliation, and Plaintiff’s retaliation claim should be dismissed.

                                                  CONCLUSION

               The complete lack of factual allegations in the Complaint and accompanying EEOC

charge warrants dismissal of this case. At best, the Complaint establishes normal trials and

tribulations of navigating technology in a workplace. That is not actionable discrimination or

retaliation. The Court should dismiss the Complaint in its entirety pursuant to Fed. R. Civ.

P. 12(b)(6).




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                                        Respectfully submitted,

                                        THE DEPARTMENT OF LAW OF THE
                                        METROPOLITAN GOVERNMENT OF
                                        NASHVILLE AND DAVIDSON COUNTY
                                        WALLACE W. DIETZ (#9949)
                                        DIRECTOR OF LAW

                                        /s/ Melissa Roberge
                                        MELISSA ROBERGE (#26230)
                                        MALLORY RICCI (#32492)
                                        SENIOR COUNSEL
                                        108 Metropolitan Courthouse
                                        P.O. Box 196300
                                        Nashville, Tennessee 37219
                                        (615) 862-6341
                                        Melissa.Roberge@nashville.gov
                                        Mallory.Ricci@nashville.gov



                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing document has been
served via U.S. Mail to:

        Jill Marie Fitcheard
        2232 Arbor Pointe Way
        Hermitage, TN 37076

on this 22nd day of August, 2022.

                                        /s/ Melissa Roberge
                                        Melissa Roberge




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